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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-cv-20545-KMW

  JOEL SANUDO,

        Plaintiff,

  vs.

  JOHNNY JONES,

        Defendant.
                              /

                                          ORDER

        THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s report

  and recommendation (DE 8) on Plaintiff’s amended civil rights complaint filed pursuant to

  42 U.S.C. § 1983. No objections to the Report were filed and the time to do so has passed.

  Upon an independent review of the Report, the record, and applicable case law, it is

  ORDERED AND ADJUDGED as follows:

        1. The conclusions in the Report (DE 8) are AFFIRMED AND ADOPTED as

            provided below.

        2. Plaintiff’s excessive force claim against Defendant Officer Jones in his

            individual capacity shall proceed.

        3. Plaintiff’s claims against Defendant Officer Jones for mental and emotional

            injuries shall proceed.

        4. To the extent Plaintiff is claiming deliberate indifference to a serious medical

            need, this claim is DISMISSED WITHOUT PREJUDICE.

        5. Plaintiff’s claims against Defendant Officer Jones in his official capacity are

            DISMISSED WITHOUT PREJUDICE.
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          6. Plaintiff’s claim against Defendant Officer Jones for injunctive relief shall be

             DENIED at this time.

          DONE AND ORDERED in Chambers in Miami, Florida, this 2nd day of October,

  2020.




  CC:

  Joel Sanudo
  190143439
  Miami-Dade County-PDC
  Pretrial Detention Center
  Inmate Mail/Parcels
  1321 NW 13th Street
  Miami, FL 33125




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